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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN

SANDRA TEUBER AND JAMES                Case No.:
TEUBER,

            Plaintiffs,                JURY TRIAL DEMANDED

                  v.

FCA US LLC, a Delaware Limited
Liability Company,

            Defendant.



                               COMPLAINT
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       Plaintiffs allege the following based on personal knowledge as to their own

experiences and, as to all other matters, based on the investigation of counsel:

                              I.    INTRODUCTION
       1.    The most important duty of a car manufacturer is to provide

consumers with a safe car.

       2.    FCA US LLC (“FCA”) breached this fundamental duty by selling

2021–2023 Jeep Wrangler and Jeep Gladiator vehicles (the “Fire Risk Vehicles”)

that were dangerous and prone to an underhood fire.

       3.    On information and belief, the Fire Risk Vehicles contain a defect in

the power steering pump electrical connector that can cause vehicle fires, both

while the vehicles are being driven and when the vehicles are parked (the

“Spontaneous Fire Risk”). 1 FCA knew or should have known for several years that

these vehicles were prone to underhood fires but failed to remedy the defect.

       4.    The Spontaneous Fire Risk exposed Plaintiffs to an unreasonable risk

of accident, injury, death, or property damage.

       5.    The Spontaneous Fire Risk manifested in Plaintiffs’ 2022 Jeep

Gladiator on July 5, 2024, when their vehicle spontaneously caught fire while

parked in the driveway of their home. The fire was not only traumatic for Plaintiffs


   1
    See Exhibit 1, Steven Symes, Jeep Wranglers And Gladiators Keep Catching
Fire, THE AUTO WIRE (Sept. 11, 2024), https://theautowire.com/2024/09/11/jeep-
wranglers-and-gladiators-keep-catching-fire.

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and their family, it also caused extensive property damage and led to Plaintiffs

incurring significant out-of-pocket costs. The images below are of the Plaintiffs’

vehicle fire:

Photos of Plaintiffs’ 2022 Jeep Gladiator engulfed in flames:




                                        2
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                                   3
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Photos of Plaintiffs’ 2022 Jeep Gladiator after spontaneously combusting:




                                     4
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       6.    As of the date of this filing, at least ten vehicle fires have been

reported to FCA or NHTSA, one of which resulted in an injury.2 The ongoing

NHTSA investigation covers over 781,000 Jeep Wrangler and Gladiator vehicles. 3

       7.    FCA also knew or should have known about the Spontaneous Fire

Risk before NHTSA opened its investigation based on consumer complaints of

underhood fires in the Fire Risk Vehicles made to FCA, NHTSA, and elsewhere

online.

       8.    Many of the Fire Risk Vehicles have already been recalled for other

defects that created a fire risk, although FCA has yet to issue a recall for the

Spontaneous Fire Risk alleged herein.

       9.    Hundreds of thousands of vehicles on the road and parked in or around

structures and other vehicles are at risk of catching fire, and their owners are

without a safely operable vehicle for an unknown and potentially lengthy period.

       10.   Because of FCA’s breach of implied warranty of merchantability and

its failure to provide a remedy for the Spontaneous Fire Risk once the fires began

occurring, Plaintiffs have been injured in fact, incurred damages, suffered


   2
     Id. See also Exhibit 2, Complaints, NHTSA ID: 11403621, NHTSA.GOV
(September 29, 2024) https://www.nhtsa.gov/?nhtsaId=11617119 (last visited
January 8, 2025)
   3
     Exhibit 3, Jeep Wrangler, Gladiator engine fires investigated by NHTSA, THE
DETROIT NEWS (Sept. 9, 2024),
   https://www.detroitnews.com/story/business/autos/chrysler/2024/09/09/jeep-
engine-fires-investigated-by-nhtsa/75142212007/.

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emotional and physical harm, and suffered ascertainable losses in money and

property.

      11.    Had Plaintiffs been advised of the Spontaneous Fire Risk when they

purchased the vehicle, they would not have subjected themselves and their family

to grave risk of injury or death and would not have purchased the vehicle. The fire

in Plaintiffs’ Fire Risk Vehicle caused emotional and physical harm, necessitated

expensive home and property repairs, destroyed personal property, required

additional car payments, and other costly harm.

                              II.    JURISDICTION

      12.    Plaintiffs Sandra and James Teuber are citizens of Illinois and

domiciled in Illinois.

      13.    Defendant FCA is completely diverse from both Plaintiffs because it

is a Delaware Limited Liability Partnership with its headquarters in Auburn Hills,

Michigan.

      14.    Jurisdiction is proper pursuant to 28 U.S.C. § 1332. There exists

complete diversity between the parties. This case concerns Plaintiffs’ 2022 Jeep

Gladiator spontaneously bursting into flames while parked in Plaintiffs’ driveway,

only feet from their home. Not only was Plaintiffs’ vehicle completely destroyed,

but the fire damaged Plaintiffs’ residence, destroyed personal property, and caused




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physical and emotional harm to Plaintiffs. As such, the amount in controversy

exceeds $75,000.

       15.   This Court has personal jurisdiction over the Defendant by virtue of

its transactions and business conducted in this jurisdiction, and because Defendant

is headquartered in Michigan. Defendant has transacted and done business, and

violated statutory and common law, in the State of Michigan and in this judicial

district.

                                   III.   VENUE
       16.    Venue is proper in this judicial district under 28 U.S.C. § 1391

because Defendant transacts substantial business and is headquartered in this

district.

                                  IV.     PARTIES
A.     Plaintiffs

       17.    Plaintiffs Sandra and James Teuber are residents and citizens of Bull

Valley, Illinois. On or about September 22, 2022, Plaintiffs leased a new 2022 Jeep

Gladiator from Crystal Lake Chrysler Dodge Jeep Ram in Crystal Lake, Illinois.

Plaintiffs’ Jeep Gladiator is a Fire Risk Vehicle equipped with the Spontaneous

Fire Risk.

       18.    Through exposure and interaction with FCA, Plaintiffs were aware

of FCA’s uniform and pervasive marketing messages of safety and dependability.

Prior to leasing their vehicle, Plaintiffs saw commercials for the Jeep Gladiator.

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Specifically, Plaintiffs viewed the Superbowl “Groundhog Day” commercial. 4

They also viewed Jeep’s website where they reviewed the details of the Jeep

Gladiator, as well as saw videos and pictures of the vehicle. These were primary

reasons Plaintiffs purchased the Fire Risk Vehicle. However, despite touting the

safety and dependability of the Fire Risk Vehicles, at no point prior to Plaintiffs’

leasing their Fire Risk Vehicle, did FCA disclose to Plaintiffs the Spontaneous Fire

Risk.

        19.   On July 5, 2024, while Mr. Teuber was mowing the lawn of

Plaintiffs’ home, he noticed black smoke coming from the front of the home.

Thinking their house was on fire, Mr. Teuber ran around to the front of the home,

where he saw Plaintiffs’ 2022 Jeep Gladiator engulfed in flames. The vehicle was

parked in the driveway of their home, approximately 10 feet from the house and

attached garage. The vehicle had been parked for approximately 24 hours. Mr.

Teuber called 911 and ran into the house to evacuate Ms. Teuber and their children

from the home. Mr. Teuber tried to put the fire out with a hose, but he was unable

to control the fire. The burning vehicle created a strong smell of burning rubber

and chemicals.




   4
       https://www.youtube.com/watch?v=P3qH4TKLP0c

                                         9
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      20.     Approximately 20 minutes later, the fire department arrived. Upon

arrival, the vehicle was completely engulfed in flames and was melting the garage

door and trim. The fire department crew attempted to extinguish the fire, but they

were unable to access the fuel tank. Firefighting foam was used to keep the fire

under control. The fire department called a tow truck to lift the vehicle to gain

access to the underside. The crew was then able to extinguish the fire, and the

vehicle was towed from the scene.

      21.     As a result of the fire, twenty gallons of fuel spilled from the vehicle

onto Plaintiffs’ property. The fire department had to use 35 gallons of firefighting

foam and 3,800 gallons of water to control and extinguish the fire.

      22.     Plaintiffs lost their vehicle due to the Spontaneous Fire Risk and were

forced to purchase a replacement vehicle, which caused them to incur significant

out-of-pocket expenses. In addition, the home and surrounding property sustained

significant damage. The fire damaged the garage doors, the trim of the garage, and

a light fixture within the garage, as well as the windows of the home located above

the garage. Ms. Teuber lost a pair of prescription eyeglasses and a pair of

prescription sunglasses that had been in the vehicle at the time of the fire. Property

surrounding the vehicle was burned and damaged, requiring replacement of

Plaintiffs’ driveway. The fire, chemicals, and firefighting foam damaged the

landscape, killing plants and shrubbery. Plaintiffs and their family were exposed


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to the smoke and fumes from the burning vehicle, fuel, and firefighting foam. No

assistance was provided in cleaning up the debris from the fire, forcing Plaintiffs

to clean up the debris themselves, including burned pieces of their vehicle, fuel,

and the firefighting foam, increasing their exposure to harmful substances.

          23.   The firefighting foam used to extinguish the fire spread across

Plaintiffs’ property and into the soil. Firefighting foam commonly contains per-

and polyfluoroalkyl substances (PFAS). 5 PFAS are a class of man-made chemicals

that are not found naturally in the environment. PFAS are highly toxic, and are

hazardous to human health and the environment. The toxic chemicals migrated into

and contaminated Plaintiffs’ property. Testing conducted after the fire and paid for

by Plaintiffs shows that PFAS is present in the soil of Plaintiffs’ property.

          24.   Following the spontaneous fire, FCA conducted an inspection of

Plaintiffs’ Fire Risk vehicle, but Plaintiffs have received no information from that

inspection or communications from FCA following the inspection. Ms. Teuber

contacted Jeep’s corporate office multiple times, but never received a return phone

call.

B.        Defendant


     Exhibit 4, PFAS - Perfluoroalkyl and polyfluoroalkyl substances,
      5

PUBLICHEALTH.VA.GOV, https://www.publichealth.va.gov/exposures/pfas.asp; see
also Exhibit 5, “Forever Chemicals” Called PFAS Show Up in Your Food,
Clothes, and Home, NRDC.ORG, https://www.nrdc.org/stories/forever-chemicals-
called-pfas-show-your-food-clothes-and-home

                                         11
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      25.     Defendant FCA US LLC (“FCA”), formerly known as Chrysler

Group, is a Delaware limited liability company organized and existing under the

laws of the State of Delaware, and is wholly owned by Stellantis N.V., a Dutch

corporation headquartered in Amsterdam, Netherlands. FCA’s principal place of

business and headquarters is at 1000 Chrysler Drive, Auburn Hills, MI 48326.

      26.     FCA is a motor vehicle manufacturer and a licensed distributor of

new, previously untitled Chrysler, Dodge, Jeep, and Ram brand motor vehicles.

FCA’s Chrysler brand is one of the “Big Three” American automobile brands. FCA

engages in commerce by distributing and selling new and used passenger cars and

motor vehicles under its Chrysler, Dodge, Jeep, and Ram brands.

      27.     FCA, through its various entities, designs, manufactures, markets,

distributes, and sells automobiles throughout the U.S. and worldwide. FCA and/or

its agents designed and manufactured the Fire Risk Vehicles. FCA also developed

and disseminated the owner’s manuals and warranty booklets, advertisements,

brochures, and other promotional materials relating to the Fire Risk Vehicles, with

the intent that such documents be purposely distributed throughout all fifty states.

FCA is engaged in interstate commerce, selling vehicles through its network in

every state of the United States.

                       V.    FACTUAL ALLEGATIONS




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                      2021–2023 Jeep Gladiator Brochures. 6

A.       FCA Marketed the Fire Risk Vehicles as Safe, Durable, and Reliable
         28.   Throughout its marketing brochures for the Fire Risk Vehicles, FCA

emphasizes the vehicles’ safety, durability, and reliability, evidencing the

materiality of these features to buyers.

         29.   The brochures for the Fire Risk Vehicles prominently advertise their

advanced safety features:




                      2021–2022 Jeep Wrangler Brochures. 7

     6
      Exhibit 6, 2021 Gladiator, AUTO-BROCHURES.COM, https://www.auto-
brochures.com/makes/Jeep/Gladiator/-Jeep_US%20Gladiator_2021.pdf   (last
visited Jan. 12, 2025); Exhibit 7, 2022 Gladiator, AUTO-BROCHURES.COM,
https://www.auto-
brochures.com/makes/Jeep/Gladiator/Jeep_US%20Gladiator_2022.pdf    (last
visited Jan. 12, 2025); Exhibit 8, 2023 Gladiator, AUTO-BROCHURES.COM,
https://www.auto-brochures.com/makes/Jeep/Gladiator/Jeep_US%20-
Gladiator_2023.pdf (last visited Jan. 12, 2025).
   7
      Exhibit 9, 2021 Wrangler, AUTO-BROCHURES.COM, https://www.auto-
brochures.com/makes/Jeep/Wrangler/-Jeep_US%20Wrangler_2021.pdf     (last
visited Jan. 12, 2025); Exhibit 10, 2022 Wrangler, AUTO-BROCHURES.COM,

                                           13
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                   2021–2023 Jeep Gladiator Brochures.8




                   2021–2022 Jeep Wrangler Brochures. 9




https://www.auto-
brochures.com/makes/Jeep/Wrangler/Jeep_US%20Wrangler_2022.pdf          (last
visited Jan. 12, 2025).
   8
     See Ex. 6, at 33; Ex. 7, at 23; Ex. 8, at 25.
   9
     See Ex. 9, at 31; Ex. 10, at 27.

                                    14
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        30.   The brochures also advertise the vehicles’ superior quality and

workmanship:




                          2021 Jeep Gladiator Brochure. 10




                          2022 Jeep Gladiator Brochure. 11




  10
       See Ex. 6, at 2.
  11
       See Ex. 7, at 2.

                                        15
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                         2023 Jeep Gladiator Brochure. 12




                         2021 Jeep Wrangler Brochure13

 12
      See Ex. 8, at 3.
 13
      See Ex. 9, at 3.

                                       16
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                            2021 Jeep Wrangler Brochure14

B.        The Spontaneous Fire Risk

          31.   On September 6, 2024, the National Highway Traffic Safety

Administration (“NHTSA”) opened Investigation No. PE24024 into a defect

causing underhood fires in an estimated 781,459 model year 2021–2023 Jeep

Gladiator and vehicles. 15

          32.   To date, there have been 10 engine compartment fires in the Fire Risk

Vehicles that are suspected to originate from the power steering pump electric

connector located in the passenger front side of the engine compartment. 16

          33.   At least one injury was reported from these fires. 17



      Id. at 7.
     14

      Exhibit 11, ODI Resume PE24024, NHTSA.GOV (Sept. 6, 2024),
     15

https://static.nhtsa.gov/odi/inv/2024/INOA-PE24024-19581.pdf (last visited Jan.
12, 2025).
   16
      Id.
   17
      Id.

                                            17
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        34.   The majority of the underhood fires occurred while the vehicle’s

ignition was off.18

        35.   As NHTSA states, “An ignition ‘OFF’ vehicle fire can result in an

increased risk of occupant injury, injury to persons outside the vehicle, and

property damage, with little to no warning.” 19

        36.   NHTSA’s ongoing investigation is “assess[ing] the cause, scope, and

frequency of the alleged defect.”20

        37.   In September 2024, Plaintiffs filed a complaint with NHTSA

following the spontaneous combustion of their vehicle: 21

              NHTSA ID Number: 11617119

              Incident Date: July 5, 2024
              Consumer Location: Uknown
              Vehicle Identification Number: 1C6JJTBG4NL******
              Summary of the Complaint: In the early afternoon hours
              of July 5, 2024, our 2022 jeep gladiator rubicon with
              only 18,000 miles spontaneously combusted in our
              driveway after being parked there for just under 24
              hours. While working in the yard, my husband noticed
              thick black smoke coming from the engine. The smoke
              quickly turned into flames then rapidly intensified as it
              spread throughout the engine, cabin and then ultimately
              the entire jeep. The jeep was a total and complete loss
              with Jeep claiming no responsibility whatsoever. We
              have over $60,000 in damages to our home, driveway,

   18
      Id.
   19
      Id.
   20
      Id.
   21
      See Ex. 2.

                                         18
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             landscaping and soil (PFAS) from the fire, NOT
             including the jeep itself. Note *The engine light did go
             on about a month prior to the fire, which from what we
             were told by Jeep service dept, was due to multiple
             misfires. This issue was resolved immediately. After the
             fire, the jeep was inspected by our insurance company
             and also by Jeep. Because the fire was so intense and
             quickly spread, there wasn’t anything left. Jeep never
             returned our calls and never once tried to make things
             right! Our safety was at risk for obvious reasons. The
             Jeep spontaneously started on fire due to no fault of our
             own. Had we not have been home, or had the Jeep been
             parked in our garage, facing the garage or the fire started
             at night while we were sleeping, the outcome would have
             been quite different. The damage it DID do to our
             property along with the mental anxiety and stress of
             trying to pay for repairs is significant enough without
             actually having our house burn down to the ground. This
             is unacceptable! Jeep needs to take responsibility!
             1 Affected Product: 2022 Jeep Gladiator

      38.    Plainly, Plaintiffs’ Fire Risk Vehicle was not suitable and safe for use

in an intended and reasonably foreseeable manner.

      39.    On information and belief, FCA knew or should have known about

the Spontaneous Fire Risk before it sold the Fire Risk Vehicle to Plaintiffs and well

before NHTSA opened an investigation into the problem, as evidenced by

consumer complaints lodged with FCA directly and with NHTSA and elsewhere

online.




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        40.   On information and belief, FCA received complaints about underhood

fires in the Fire Risk Vehicles no later than March 2021. 22

        41.   All vehicle manufacturers, including FCA, are required by law to

routinely monitor and analyze NHTSA complaints to determine whether vehicles

or components should be recalled due to safety concerns. Thus, FCA has

knowledge of all NHTSA complaints filed concerning the vehicles it manufactures,

including the Fire Risk Vehicles. See TREAD Act, Pub. L. No. 106- 414, 114 Stat.

1800 (2000).

        42.   Complaints submitted to FCA and NHTSA via Vehicle Owner

Questionnaires (“VOQ”) reveal multiple instances of Fire Risk Vehicles catching

on fire.

        43.   In March 2021, an underhood fire in a model year 2021 Jeep

Wrangler:23

              NHTSA ID Number: 11403621
              Incident Date: March 16, 2021
              Consumer Location: RUMSON, NJ
              Vehicle Identification Number: 1C4HJXENXMW****
              Summary of Complaint: OUR 2021 JEEP STARTED
              SMOKING IN THE ENGINE AND WITHIN 10
              MINUTES BURST INTO FLAMES. THE ENTIRE
              FRONT END WAS DAMAGED BEYOND REPAIR /
              BURNED AND FIRE STATIONS HAD TO PUT OUT
              THE FIRE. MY DAUGHTER, DOGS AND I WERE

   22
       See Complaints, NHTSA ID: 11403621, NHTSA.GOV (Mar. 18, 2021),
https://www.nhtsa.gov/?nhtsaId=11403621 (last visited Jan. 12, 2025).
   23
      Id.

                                        20
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              ABLE TO MAKE IT OUT OF THE CAR BUT VERY
              SCARY.
              1 Affected Product: 2021 Jeep Wrangler

       44.    In September 2021, an underhood fire in the model year 2021

Wrangler:24

              NHTSA ID Number: 11436759
              Incident Date: September 27, 2021
              Consumer Location: BELLINGHAM, WA
              Vehicle Identification Number: 1C4HJXCN3MW****
              Summary of Complaint: The engine caught on fire after
              a short drive. The fire burned the entire top of the rear of
              the engine and completely through the wiring harness
              before I could extinguish it with a fire extinguisher and
              water. The fire appears to have started at the top rear of
              the engine where the fuel line enters the intake. The
              manufacturer, Stellantis, hired a special investigator
              from EAA/Bosch to look at it, and he agrees that it is
              similar to fires in similar engines that were recalled in
              October 2020, NHTSA Campaign number 21V-665.
              Stellantis has not responded to repeated requests for
              resolution.
              1 Affected Product: 2021 Jeep Wrangler

       45.    In November 2021, an underhood fire in a model year 2021 Jeep

Wrangler:25

              NHTSA ID Number: 11442560
              Incident Date: November 13, 2021
              Consumer Location: WICKENBURG, AZ
              Vehicle Identification Number: 1C4HJXEG4MW****


  24
        Complaints, NHTSA ID: 11436759, NHTSA.GOV (Oct. 14, 2021),
https://www.nhtsa.gov/?nhtsaId=11436759 (last visited Jan. 12, 2025).
   25
        Complaints, NHTSA ID: 11442560, NHTSA.GOV (Dec. 3, 2021),
https://www.nhtsa.gov/?nhtsaId=11442560 (last visited Jan. 12, 2025).

                                          21
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              Summary of Complaint: My 2021 Jeep Wrangler with
              1900 miles caught on fire and was a total loss,
              preliminary investigation believes the cause of the fire to
              be a gas leak. There were no indications or warning
              lights, saw black smoke coming from the engine
              compartment by the time I pulled over and got out of the
              vehicle it was on fire and within minutes the entire car
              was engulfed by flames and it was a total loss.
              1 Affected Product: 2021 Jeep Wrangler

       46.    In May 2023, an underhood fire in a model year 2023 Jeep

Wrangler:26

              NHTSA ID Number: 11525680
              Incident Date: May 11, 2023
              Consumer Location: Unknown
              Vehicle Identification Number: 1C4JJXP61PW****
              Summary of Complaint: I am not sure if this is something
              that should be reported or not. My Jeep caught on fire in
              a drive thru on 5/11/23. It was only 3.5 months old and
              had 3,465 miles on it. I saw smoke coming from under
              the hood, then big black billowing smoke, when some
              guys got the hood open there were flames coming from
              behind the engine. They were able to put it out with a fire
              extinguisher but it caused alot of damage. It is available
              for inspection but I would need to know ASAP since it
              is at the dealer. About 3 minutes prior I was on the
              highway and this could have ended up so much worse as
              I had my two dogs with me as well. I contacted Jeep and
              they sent Engineering Analysis Associates/Bosch
              Automotive Service Solutions out to examine the car and
              they said "the information at hand would not permit us
              to associate the fire with a manufacturing or assembly
              error". No reason for the fire was given. Vehicle was
              inspected by insurance rep, investigator hired by the
              manufacturer. Police and fire dept were on scene at the

  26
        Complaints, NHTSA ID: 11525680, NHTSA.GOV (June 6, 2023),
https://www.nhtsa.gov/?nhtsaId=11525680 (last visited Jan. 12, 2025).

                                          22
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                time but did not create a report, just gave me an incident
                #. No warnings, messages or anything warned of the fire.
                I was able to drive it around to the front of the building
                to get it away from the building and other cars while their
                was smoke coming out of it. No warnings lights came on
                at all that I could see on the dash. I want to report this
                incase any other Wrangler 4XE's end up having the same
                issue.
                1 Affected Product: 2023 Jeep Wrangler

        47.     In August 2023, a fire in a model year 2022 Jeep Gladiator: 27

                NHTSA ID Number: 11585273
                Incident Date August 6, 2023
                Consumer Location NEW FRANKEN, WI
                Vehicle Identification Number 1C6HJTFG9NL****
                Summary of Complaint: My 2022 Jeep Gladiator burned
                to the ground with 2,500 miles. Jeep sent out their fire
                investigator and they said it was not a manufacture defect
                on their part. Allstate sent out their fire investigator and
                he said it WAS a Jeep manufacturer issue. Both Jeep and
                Allstate denied to give me copies of the report findings.
                My Jeep was parked and engine cold when it started
                smoldering and went up in flames. my VIN is [XXX] . I
                lost 12 months of payments plus $1800 in Ceramic
                coating along with another $2,000. in additional add ons.
                INFORMATION REDACTED PURSUANT TO THE
                FREEDOM OF INFORMATION ACT (FOIA), 5
                U.S.C. 552(B)(6).
                1 Affected Product: 2022 Jeep Gladiator

        48.     In January 2024, an underhood fire in a model year 2022 Jeep

Gladiator: 28


   27
        Complaints, NHTSA ID: 11585273, NHTSA.GOV (Apr. 25, 2024),
https://www.nhtsa.gov/?nhtsaId=11585273 (last visited Jan. 12, 2025).
   28
        Complaints, NHTSA ID: 11567979, NHTSA.GOV (Jan. 26, 2024),
https://www.nhtsa.gov/?nhtsaId=11567979 (last visited Jan. 12, 2025).

                                            23
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               NHTSA ID Number: 11567979
               Incident Date: January 24, 2024
               Consumer Location: AUBURN, WA
               Vehicle Identification Number: 1C6JJTBG6NL****
               Summary of Complaint: Our 2022 Gladiator has 1,758
               miles on it and no modifications. It was last driven about
               two weeks ago. It burned to the ground [XXX] while
               parked next to our house. The fire started in the engine
               compartment. There were no warnings of symptoms and
               our jeep app showed everything was normal when last
               driven. It was investigated by the VRFA and I am
               waiting for their report. Insurance has not yet inspected.
               We reported it to the dealership we bought it from. On
               the [XXX] website, there is another 2022 Gladiator, also
               low mileage, that also burned to the ground while
               parked. That person's insurance stated that they believe
               it burned due to a manufacturer defect but there are no
               recalls. INFORMATION REDACTED PURSUANT
               TO THE FREEDOM OF INFORMATION ACT
               (FOIA), 5 U.S.C. 552(B)(6).
               1 Affected Product: 2022 Jeep Gladiator

        49.    In January 2024, an underhood fire in a model year 2021 Jeep

Wrangler: 29

               NHTSA ID Number: 11570607
               Incident Date: January 6, 2024
               Consumer Location: LAYTON, UT
               Vehicle Identification Number: 1C4JJXFM2MW****
               Summary of Complaint: Fire started about 15 minutes
               after parking the Jeep. Flames and smoke first appeared
               in engine compartment on passenger side where an
               electrical panel is located. Fire spread quickly and burnt
               out entire front of vehicle before the fire department was
               able to extinguish the flames. Vehicle is a total loss.
               1 Affected Product: 2021 Jeep Wrangler

   29
        Complaints, NHTSA ID: 11570607, NHTSA.GOV (Feb. 7, 2024),
https://www.nhtsa.gov/?nhtsaId=11570607 (last visited Jan. 12, 2025).

                                          24
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        50.     In February 2024, an underhood fire in a model year 2022 Jeep

Gladiator: 30

                NHTSA ID Number: 11573476
                Incident Date February 19, 2024
                Consumer Location FORESTVILLE, CA
                Vehicle Identification Number 1C6JJTBM7NL****
                Summary of Complaint: I was driving my Jeep Gladiator
                on [XXX] Shasta Co, CA, on a snowy mountain
                highway. I had my husband, two children and two dogs
                in the vehicle. Without warning the power steering went
                out. Within 20 seconds a steering wheel light appeared
                on the dash. Within approximately 20 more seconds, I
                was able to pull over into a plowed turnout. As soon as
                we stopped the vehicle we noticed a fire in the engine
                compartment. We were able to extinguish it within a few
                minutes with our fire extinguisher. The vehicle has
                approximately 15000 miles on it and is under warranty.
                It is currently under inspection to determine if it falls
                under warranty. INFORMATION REDACTED
                PURSUANT           TO      THE      FREEDOM          OF
                INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6).
                1 Affected Product: 2022 Jeep Gladiator

        51.     In March 2024, an underhood fire in a model year 2022 Jeep

Wrangler:31

                NHTSA ID Number: 11576144
                Incident Date: March 6, 2024
                Consumer Location: TITUSVILLE, NJ
                Vehicle Identification Number: 1C4HJXEM2NW****


   30
        Complaints, NHTSA ID: 11573476, NHTSA.GOV (Feb. 22, 2024),
https://www.nhtsa.gov/?nhtsaId=11573476 (last visited Jan. 12, 2025).
   31
        Complaints, NHTSA ID: 11576144, NHTSA.GOV (Mar. 8, 2024),
https://www.nhtsa.gov/?nhtsaId=11576144 (last visited Jan. 12, 2025).

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             Summary of Complaint: The detective reported that the
             2022 Jeep Wrangler spontaneously caught on fire. The
             contact stated that after the owner parked the vehicle,
             approximately six hours later a fire occurred which
             started in the engine compartment of the vehicle. The fire
             department was called to the scene and extinguished the
             flames. During the incident the vehicle was destroyed.
             No injuries were reported. A police and fire report was
             taken at the scene and the vehicle was later tow away.
             The cause of the failure was not yet determined. The
             manufacturer and local dealer were not notified by the
             contact. The contact was concern that the vehicle had
             experienced the same failure listed in the NHTSA
             Campaign Number: 23V787000(Electrical System)
             which did not include the diesel models. The contact
             indicated that the vehicle had experienced that same
             failure listed in the recall. The failure mileage was
             unknown.
             1 Affected Product: 2022 Jeep Wrangler

      52.    Despite FCA’s knowledge of the serious risk of fire in the Fire Risk

Vehicles, it has done nothing to remedy the problem or even warn consumers.

            VI.    TOLLING OF THE STATUE OF LIMITATIONS

A.    Discovery Rule Tolling
      53.    Because FCA concealed the existence of the Spontaneous Fire Risk,

Plaintiffs had no way of knowing about the unreasonable fire risk of their vehicle.

      54.    Within the period of any applicable statutes of limitation, Plaintiffs

could not have discovered through the exercise of reasonable diligence that FCA

was concealing the Spontaneous Fire Risk complained of herein.




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         55.   Plaintiffs did not discover, and did not know of, facts that would have

caused a reasonable person to suspect that FCA did not report information within

its knowledge to federal and state authorities, its dealerships, or consumers; nor

would a reasonable and diligent investigation have disclosed that FCA had

concealed information about the unreasonable fire risk of the Fire Risk Vehicles,

which was discovered by Plaintiffs only shortly before this action was filed.

         56.   For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as Plaintiffs’ Fire Risk

Vehicle.

B.       Estoppel
         57.    FCA was under a continuous duty to disclose to Plaintiffs the true

character, quality, and nature of the fire risk of their vehicle.

         58.   FCA knowingly, affirmatively, and actively concealed or recklessly

disregarded the true nature, quality, and character of the fire risk of their vehicle.

         59.   Based on the foregoing, FCA is estopped from relying on any statutes

of limitations in defense of this action.

                              VII. CAUSES OF ACTION
                               COUNT I
         VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                       (15 U.S.C. § 2301, et seq.)
         60.   Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

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      61.    This Court has jurisdiction to decide claims brought under 15 U.S.C.

§ 2301 by virtue of 28 U.S.C. § 1332(a).

      62.    Plaintiffs’ Fire Risk Vehicle is a “consumer product” within the

meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3). Plaintiffs are

consumers because they are persons entitled under applicable state law to enforce

against the warrantor the obligations of its implied warranties.

      63.    FCA is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)–(5).

      64.    The Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(d)(1) provides

a cause of action for any consumer who is damaged by the failure of a warrantor

to comply with an implied warranty.

      65.    FCA provided Plaintiffs with an implied warranty of merchantability

in connection with the purchase of their vehicle that is an “implied warranty”

within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(7). As

a part of the implied warranty of merchantability, FCA warranted that Plaintiffs’

Fire Risk Vehicle was fit for its ordinary purpose as a safe vehicle and would pass

without objection in the trade as designed, manufactured, and marketed, and was

adequately contained, packaged, and labeled.

      66.    FCA breached its implied warranty, as described in more detail

herein, and is therefore liable to Plaintiffs pursuant to 15 U.S.C. § 2310(d)(1).


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Plaintiffs’ Fire Risk Vehicle contained a defect in that it was equipped with a power

steering pump electrical connector that made the vehicle susceptible to a risk of

spontaneously catching on fire, causing an unreasonable risk of death, serious

bodily harm and/or property damage to Plaintiffs. This defect rendered Plaintiffs’

Fire Risk Vehicle, when leased and at all times thereafter, unmerchantable and

unfit for its ordinary use.

      67.    As alleged herein, FCA knew or should have known of the defect.

      68.    Any effort by FCA to limit the implied warranty in a manner that

would exclude coverage of the Fire Risk Vehicle is unconscionable, and any such

effort to disclaim or otherwise limit such liability is null and void.

      69.    Any limitations FCA might seek to impose on its warranty are

procedurally unconscionable. There was unequal bargaining power between FCA

and Plaintiffs, as, at the time of lease, Plaintiffs had no other options for purchasing

warranty coverage other than directly from FCA.

      70.    Any limitations FCA might seek to impose on its warranty are

substantively unconscionable. FCA knew that the Fire Risk Vehicles were

defective and that the Fire Risk Vehicles could spontaneously ignite when used as

intended before Plaintiffs purchased their Fire Risk Vehicle. FCA failed to disclose

this defect to Plaintiffs. Thus, enforcement of the durational limitations on the

warranty is harsh and would shock the conscience.


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      71.    Plaintiffs have had sufficient direct dealings with FCA to establish

privity of contract between FCA and Plaintiffs. Nonetheless, privity is not required

here because Plaintiffs are intended third-party beneficiaries of the contract

between FCA and the FCA-certified/authorized dealership who leased the Fire

Risk Vehicle to Plaintiffs, and specifically, of FCA’s implied warranty. The dealers

were not intended to be the ultimate consumers of the Fire Risk Vehicles and have

no rights under the warranty agreements provided with the Fire Risk Vehicles; the

warranty agreements were designed for and intended to benefit consumers. Finally,

privity is also not required because Plaintiffs’ Fire Risk Vehicles was a dangerous

instrumentality due to the aforementioned defect, as a spontaneous fire presented

an unreasonable risk of death, serious bodily harm and/or property damage to

Plaintiffs, as well as their home, other nearby structures and vehicles, passengers

and bystanders.

      72.    Plaintiffs would suffer economic hardship if they did not receive the

return of all payments made by them. Because FCA will not acknowledge any

revocation of acceptance and immediately return any payments made, Plaintiffs

have not re-accepted their vehicle by retaining them.

      73.    The amount in controversy of Plaintiffs’ claims meets or exceeds the

sum of $25. The amount in controversy of this action exceeds the sum of $50,000,

exclusive of interest and costs, computed on the basis of all claims to be determined


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in this lawsuit. Plaintiffs seek all damages permitted by law, including diminution

in value of their vehicle, in an amount to be proven at trial. In addition, pursuant to

15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover a sum equal to the

aggregate amount of costs and expenses (including attorneys’ fees based on actual

time expended) determined by the Court to have reasonably been incurred by

Plaintiffs in connection with the commencement and prosecution of this action.

                                COUNT II
                        STRICT PRODUCT LIABILITY
      74.    Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      75.    At all relevant times, FCA was involved in the design, manufacture,

marketing, assembly and/or testing of Plaintiffs’ Fire Risk Vehicle, and its

component parts, which spontaneously combusted while parked in Plaintiffs’

driveway.

      76.    FCA was responsible for placing Plaintiffs’ Fire Risk Vehicle into the

stream of commerce in the State of Illinois.

      77.    It was reasonably foreseeable to FCA that vehicle fires similar to the

fire that engulfed Plaintiffs’ Fire Risk Vehicle would occur during the normal and

ordinary use of the vehicles.

      78.    Plaintiffs’ vehicle did not perform as safely as an ordinary consumer

of the vehicle would expect, despite the vehicle’s use for its intended purpose.


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      79.    The power steering pump electrical connector that made Plaintiffs’

Fire Risk Vehicle susceptible to a risk of spontaneous combustion was defectively

manufactured, designed, marketed, engineered and/or tested.

      80.    The risks of the Fire Risk Vehicles’ design did not outweigh the

benefits since FCA could have utilized safer alternative designs at the time

Plaintiffs’ Fire Risk Vehicle was designed, manufactured, and sold.

      81.    The acts and/or omissions of FCA were a proximate cause of the fire

at Plaintiffs’ property.

      82.    The acts and/or omissions of FCA were a proximate cause of

Plaintiffs’ damages.

                                  COUNT III
                                 NEGLIGENCE
      83.    Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      84.    At all relevant times, FCA was involved in the design, manufacture,

marketing, assembly and/or testing of Plaintiffs’ Fire Risk Vehicle, and its

component parts, which spontaneously combusted while parked in Plaintiffs’

driveway.

      85.    FCA was responsible for placing Plaintiffs’ Fire Risk Vehicle into the

stream of commerce in the State of Illinois.




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     86.     At all relevant times, FCA owed Plaintiffs a duty to exercise

reasonable care in the design, manufacture, marketing, assembly, and/or testing of

their Fire Risk Vehicle, including a duty to ensure that the vehicle did not cause

Plaintiffs, other users, bystanders, and/or members of the public, unnecessary

property damage, injury, or death.

     87.     It was reasonably foreseeable to FCA that vehicle fires similar to the

fire that engulfed Plaintiffs’ Fire Risk Vehicle would occur during the normal and

ordinary use of its vehicles.

     88.     Indeed, FCA knew about the Spontaneous Fire Risk before the Fire

Risk Vehicle was sold to Plaintiffs.

     89.     The injuries suffered by Plaintiffs occurred because their Fire Risk

Vehicle was not reasonably and safely designed or manufactured by FCA and/or

not reasonably fit to safely be used as intended and advertised.

     90.     FCA knew or should have known that Plaintiffs’ Fire Risk Vehicle

was unreasonably dangerous. Consequently, FCA was negligent and breached its

duty of care to Plaintiffs in the following ways:

             a.     FCA failed to exercise due care in the design, manufacture,

                    assembly, marketing, engineering and/or testing of Plaintiffs’

                    Fire Risk Vehicle in order to avoid the types of injuries

                    experienced by Plaintiffs;


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             b.     FCA failed to incorporate within Plaintiffs’ Fire Risk Vehicle

                    reasonable    safeguards,    proper   components,      and   safe

                    engineering to avoid the vehicle spontaneously exploding into

                    flames;

             c.     FCA failed to take adequate steps to identify and/or mitigate

                    the Spontaneous Fire Risk, including the defect in the power

                    steering pump electric connector; and

             d.     FCA was otherwise careless or negligent in the design,

                    manufacture, assembly, marketing, engineering and/or testing

                    of Plaintiffs’ Fire Risk Vehicle.

      91.    As a direct result of FCA’s negligence, Plaintiffs suffered harm in an

amount to be determined by a jury following trial.

                              COUNT IV
                    NEGLIGENT MISREPRESENTATION
      92.    Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      93.    FCA had a duty to provide honest and accurate information to

consumers, including Plaintiffs, so that they could make informed decisions on the

safety of their vehicle and whether it was safe to park their vehicle near their home.

      94.    Plaintiffs considered the safety and susceptibility to catastrophic fire

events to be an important factor when using and parking their Fire Risk Vehicle.


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A vehicle’s safety and susceptibility to catastrophic fire is material to the average,

reasonable consumer.

      95.    FCA knew, or in the exercise of reasonable diligence, should have

known, that the average, reasonable consumer, including Plaintiffs, would be

misled by FCA’s misleading and deceptive advertisements, communications, and

statements regarding the safety and reliability of the Fire Risk Vehicles.

      96.    Plaintiffs justifiably relied on FCA’s misrepresentations and

omissions and were actually misled and deceived and were induced by FCA to use

the vehicle in the manner advertised and intended. If FCA had disclosed the truth

about the Spontaneous Fire Risk, Plaintiffs would have taken steps to prevent their

vehicle from spontaneously combusting while parked in their driveway, adjacent

to their home.

      97.    As a result of FCA’s conduct, Plaintiffs have been damaged in an

amount to be determined at trial.

                        COUNT V
BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY UNDER
                     ILLINOIS LAW
                   (810 ILCS 5/2A-212)

      98.    Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      99.    FCA is and was at all relevant times a “merchant” with respect to

motor vehicles under 810 ILCS §§ 5/2-104(1) and 5/2A-103(3), and a “seller” of


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motor vehicles with respect under § 5/2A-103(1)(d). FCA is and was at all relevant

times a “lessor” with respect to motor vehicles under 810 ILCS § 5/2A-103(1)(p).

      100. Plaintiffs’ vehicle is and was at all relevant times “goods” within the

meaning of 810 ILCS § 5/2A-103(1)(h).

      101. Under Illinois law, an implied warranty of merchantability is attached

to Plaintiffs’ vehicle. 810 ILCS § 5/2A-212.

      102. Plaintiffs’ Fire Risk Vehicle was not merchantable when leased

because it posed an unreasonable risk of underhood fire due to the Spontaneous

Fire Risk. Plaintiffs’ Fire Risk Vehicle contains a defect in that it was equipped

with a power steering pump electrical connector that made the vehicle susceptible

to a risk of spontaneously catching on fire, causing an unreasonable risk of death,

serious bodily harm and/or property damage to Plaintiffs. This defect rendered

Plaintiffs’ Fire Risk Vehicle, when leased and at all times thereafter,

unmerchantable and unfit for its ordinary use of driving.

      103. FCA breached the implied warranty of merchantability to Plaintiffs

by leasing to Plaintiffs the Fire Risk Vehicle containing a defect that could lead to

the sudden incineration of the vehicle during ordinary operating conditions, or

while off and parked. This defect has deprived Plaintiffs of the benefit of their

bargain.




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       104. FCA was provided notice of these issues within a reasonable time of

Plaintiffs’ knowledge of the non-conforming or defective nature of their Fire Risk

Vehicle by certified mail from Plaintiffs’ counsel to FCA, dated November 20,

2024, by direct communications to FCA, FCA’s own inspection of Plaintiffs’

vehicle following the fire, consumer complaints to NHTSA regarding the defect

that is the subject of this complaint, Plaintiffs’ own NHTSA complaint regarding

the fire in their vehicle, and/or by the allegation in this complaint.

       105. Plaintiffs were the third-party beneficiaries of FCA’s contract with

the FCA-certified/authorized dealership who leased the Fire Risk Vehicle to

Plaintiffs.

       106. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiffs have been damaged in an amount to be

determined at trial.

                            COUNT VI
        VIOLATION OF THE ILLINOIS CONSUMER FRAUD ACT
                     (815 ILCS § 505/1 et seq.)

       106. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

       107. FCA is a “person” as defined in 815 ILCS 505/1(c).

       108. Plaintiffs’ Fire Risk Vehicle is “merchandise” within the meaning of

815 ILCS § 505/1(b).



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      109. FCA’s marketing, distribution, and sale of Plaintiffs’ vehicle

constitutes “trade” and “commerce” within the meaning of 815 ILCS 505/1(f).

      110. The Illinois Consumer Fraud Act (ICFA) prohibits “unfair or

deceptive acts or practices, including but not limited to the use or employment of

any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, with intent that others

rely upon the concealment, suppression or omission of such material fact . . . in the

conduct of any trade or commerce . . . whether any person has in fact been misled,

deceived or damaged thereby.” 815 ILCS 502/2.

      111. FCA engaged in unfair or deceptive acts or practices within the

meaning of the ICFA.

      112. In the course of its trade or commerce, FCA exhibited the “use or

employment     of   any   deception,    fraud,   false   pretense,   false   promise,

misrepresentation or the concealment, suppression or omission of any material

fact, with intent that others rely upon the concealment, suppression or omission of

such material fact, or the use or employment of any practice described in Section

2 of the ‘Uniform Deceptive Trade Practices Act,’ approved August 5, 1965”

within the meaning of the ICFA. 815 ILCS 505/2.

      113. Specifically, FCA concealed and/or failed to disclose the Spontaneous

Fire Risk in Plaintiffs’ Fire Risk Vehicle, as described herein and otherwise


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engaged in activities with a tendency or capacity to deceive. FCA also engaged in

unlawful trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of a material fact

with intent that others, including Plaintiffs, rely upon such concealment,

suppression, or omission, in connection with the sale or lease of the Fire Risk

Vehicles.

       114. By failing to disclose and/or actively concealing the Spontaneous Fire

Risk in Plaintiffs’ Fire Risk Vehicle, which it marketed as safe, reliable, of high

quality, and fit for ordinary use, FCA engaged in unfair and deceptive acts or

practices in violation of the ICFA.

       115. In the course of FCA’s business, it willfully failed to disclose and

actively concealed the dangerous risks posed by the Spontaneous Fire Risk in

Plaintiffs’ Fire Risk Vehicle.

       116. FCA’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiffs, about the true safety and

reliability of their vehicles.

       117. FCA intentionally and knowingly misrepresented material facts

regarding the Fire Risk Vehicles with the intent to mislead Plaintiffs.

       118. FCA knew or should have known that its conduct violated the ICFA.




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      119. As alleged above, FCA made material statements about the safety and

reliability of the Fire Risk Vehicles that were either false or misleading.

      120. FCA owed Plaintiffs a duty to disclose the true safety and reliability

of their Fire Risk Vehicle because FCA:

             a.     Possessed exclusive knowledge about the Spontaneous
                    Fire Risk;

             b.     Intentionally concealed the foregoing from Plaintiffs;

             c.     Made incomplete representations about the safety and
                    reliability of the Fire Risk Vehicles, including Plaintiffs’
                    vehicle, while purposefully withholding material facts
                    from Plaintiffs that contradicted these representations;
                    and/or

             d.     Had duties under the TREAD Act and related regulations
                    to disclose and fix the defect.

                            REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that the Court enter judgment

in their favor and against FCA, as follows:

      A.     The full amount of Plaintiffs’ economic damages;

      B.     The full amount of Plaintiffs’ non-economic and/or general
             damages;

      C.     The full amount of damages suffered by the Plaintiffs;

      D.     Exemplary damages to the full extent allowed by law;

      E.     The full amount of Plaintiffs’ damages for personal injury, loss of
             consortium, society, companionship, advice, support guidance, or
             similar benefits, resulting from their physical and emotional injuries;


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     G.    Punitive damages;

     H.    Plaintiffs’ attorneys’ fees and costs to the extent allowable;

     I.    Prejudgment interest on Plaintiffs’ damages; and

     J.    Such other and further relief the Court deems just and proper.

                        DEMAND FOR JURY TRIAL

     Plaintiffs hereby demand a jury trial for all claims so triable.


DATED: January 20, 2025                Respectfully submitted,

                                       /s/ Dennis A. Lienhardt
                                       E. Powell Miller (P39487)
                                       Dennis A. Lienhardt (P81118)
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                                       Counsel for Plaintiffs




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